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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA

Shannon Miller,
Jen Banford,
and Annette Wiles,
                                            NOTICE OF APPEAL
                          Plaintiffs,
                 v.                          CIVIL ACTION NO.
                                            15-cv-3740 (PJS/LIB
The Board of Regents of the
University of Minnesota,

                         Defendant.


                         NOTICE OF APPEAL
     Pursuant to Fed. R. App. P. 3(c)(1) and 4(a), notice is hereby given
that all of the above-named Plaintiffs—Shannon Miller, Jen Banford, and
Annette Wiles—in the above-captioned case appeal to the United States
Court of Appeals for the Eighth Circuit.
     The above-named Plaintiffs appeal from:
        1. a Judgment of the United States District Court for the District
           of Minnesota entered on February 13, 2019 [ECF 616]; and
        2. an underlying order filed February 13, 2019 [ECF 615] granting
           Plaintiff Shannon Miller’ motion for reinstatement or front pay
           in part and denying it in part [ECF 601]; and
        3. an underlying order filed February 1, 2018, which dismissed
           all Banford’s and Wiles’ federal claims with prejudice on the
           merits, dismissed Miller’s federal sexual-orientation claims
           under Title VI with prejudice on the merits, and dismissed all
           Plaintiffs’-state claims without prejudice pursuant to Fed. R.
           Civ. P. 56 [ECF 501]; and
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       4. an order filed September 6, 2019 [ECF 699] which disposed of
         the last remaining post-trial motion within the meaning of Fed.
         R. Civ. P. 4(a)(4); and
       5. an Amended Judgment of the United States District Court for
         the District of Minnesota entered on September 30, 2019 [ECF
         704].


Date: October 7, 2019   VAN DYCK LAW FIRM, PLLC

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